                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
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THE DRAGONWOOD CONSERVANCY, INC.,
f/k/a/ The Cullen Vivarium Wildlife Conservancy
  A Florida 501c3 Corporation
  28035 Hosea Lane, Eustis, FL 32736
RA: Jane Flint, 10335 W. Oklahoma Ave.,
West Allis, WI 53227                           COMPLAINT
                                                   CASE NO:
PLEGUAR CORPORATION,
A Domestic Corporation whose registered agent and address is
Jane Flint,
5714 W. Vliet St.,
Milwaukee, WI 53208

TERRY CULLEN
3443 S. 17th St.
Milwaukee, WI
                                     Plaintiffs,
vs.

PAUL FELICIAN*
PHIL SIMMERT II*
c/o Police Administration
749 W. State St.
Milwaukee, WI 53233

JANE AND JOHN DOE(S)*
[addresses unknown]

*Individually and In Their Respective Official Capacities,

CITY OF MILWAUKEE
A Wisconsin Municipality
c/o City Clerk
200 E. Wells Street, Room 205,
Milwaukee, WI 53202



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And

ABC INSURANCE COMPANY
An unidentified insurance company
[Address unknown]
                                      Defendants

_____________________________________________________________________


                                  COMPLAINT

_____________________________________________________________________




      NOW COME THE PLAINTIFFS -AND EACH OF THEM- BY

UNDERSIGNED COUNSEL, as and for their respective Complaints against the

Defendants, and each of them, allege as follows upon information and belief:




I. NATURE OF ACTION

      101. Plaintiffs bring this action for damages caused by the violation of

their civil (constitutional) rights per 42 U.S.C. §1983, against the Defendants,

and each of them; Plaintiffs now allege:

      A.      widespread, unconstitutional damage and destruction to their four

buildings and personal property contained therein, committed by Defendants




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during and/or after the execution of search warrants thereupon; and

thereafter,

       B.      unconstitutional seizures and permanent deprivations without due

process nor reasonable compensation, of a world-class reptile inventory,

under circumstances reflecting Defendants’ utter incompetence and reckless

disregard for the Plaintiffs’ rights and interests under a specialized area of

law.

       C.       damages exceeding $4.425 million dollars, caused or contributed

to by the Defendants’ unconstitutional searches, seizures, permanent

deprivations, and other actionable conduct as alleged herein.

       D.      Plaintiffs specifically allege the police conduct violated Plaintiffs’

rights under (the Fourth, Fifth, and/or Fourteenth Amendments to the United

States Constitution and) Federal Civil Rights Statutes.

       102. The individual Defendants, as more particularly alleged herein,

include supervisory-level officers Phil Simmert II and Paul Felican.

       103. Presently unidentified defendants identified as Jane(s) and/or

John(s) Doe(s) are adult residents of the State of Wisconsin who are proper

and/or necessary parties hereto; and may include non-law-enforcement

personnel; and/or may include City of Milwaukee Police Department officers,

employees, or other such persons including local housing and zoning officers,



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local animal welfare (apparent) agent(s), and any others having caused

damage to Plaintiffs.

      104. The City of Milwaukee is named as a direct-liability Defendant,

and as an indemnification Defendant.




II. JURISDICTION AND VENUE

      A.      JURISDICTION:

      201. This court has jurisdiction over this action pursuant to 28 U.S.C

§1343(a)(3) and 28 U.S.C. §14141 -- e.g., 42 U.S.C.§1983 jurisdiction.

      B.      VENUE:

      202. The United States Federal Court for the Eastern District of

Wisconsin is the proper venue for this action, because Plaintiffs’ claims arose

within the geographical boundaries thereof, within the meaning of 28

U.S.C.§1391(b).




III. PARTIES

      A.      PLAINTIFFS:

      301. The Plaintiff Terry Cullen (“Cullen”) is an adult resident of the

State of Wisconsin who at all times material hereto, resides at 3443 S. 17th




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Street, Milwaukee, WI; who has the capacity to sue and be sued; and that he

owned personal property damaged and/or destroyed as alleged herein; and

owned

the real property located with the City of Milwaukee, Wisconsin.

      3443 South 17th St. (“17th Street”);

      3401 South 16th Street (“16th Street”);

      3448 South Kinnickinnic Avenue and connected
           2308-10 E. Malvern Place (“South KK”);


      302. Plaintiff Pleguar Corporation (“Pleguar”) is a Wisconsin

corporation whose principal office is located at 2323 South 13th St.,

Milwaukee, WI 53215; and whose registered agent and address for service

of process is Jane Flint, 5714 W. Vliet St., Milwaukee, WI 53208 (“Flint”);

and that Plaintiff Cullen is the majority shareholder thereof;

      303. At all times mentioned herein, Pleguar owned the real property

(and items of personal property) located at 2319-2323 South 13th Street,

Milwaukee, Wisconsin (“South 13th St.”); Pleguar is in the event-staffing

business and it holds a private detective agency license.

      304. Plaintiff THE DRAGONWOOD CONSERVANCY, INC.,

(“Dragonwood”) is a Florida not-for-profit [“501c3”] corporation and is

formerly known as The Cullen Vivarium Wildlife Conservancy; whose



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business address is 28035 Hosea Lane, Eustis, FL 32736; and whose

Wisconsin registered agent and address for service of process is: c/o Jane

Flint, 10335 W. Oklahoma Ave., Ste. 205, West Allis, WI 53227; and as

alleged herein, Dragonwood owned certain real property and personal

property (including reptiles and other living creatures), which were damaged,

destroyed, and/or permanently seized by Defendants; and that Plaintiff Cullen

is the principal director thereof.


      B.      DEFENDANTS:

      305. Defendant Paul Felician is an adult resident of the State of

Wisconsin, whose personal address is unknown; however his business

address for service of process is c/o Police Administration, 749 W. State St.,

Milwaukee, WI 53233; and who at all times mentioned herein, was employed

by and/or was an agent or apparent agent of, the City of Milwaukee Police

Department, acting within his scope of employment and under the color of

law; and has the capacity to sue and be sued; and that based upon the

allegations herein he is a necessary and proper party hereto.

      306. Defendant Phil Simmert II is an adult resident of the State of

Wisconsin, whose personal address is unknown; however his business

address for service of process is c/o Police Administration, 749 W. State St.,




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Milwaukee, WI 53233 and who at all times mentioned herein, was employed

by and/or was an agent or apparent agent of, the City of Milwaukee Police

Department, acting within his scope of employment and under the color of

law; and has the capacity to sue and be sued; and that based upon the

allegations herein he is a necessary and proper party hereto.

      307. Defendants Jane(s) and/or John Doe(s) are presently unidentified

adult residents of the State of Wisconsin having the capacity to sue and be

sued; whose addresses and occupations are likewise presently unidentified;

and who at all times mentioned herein, were acting: (1) individually; (2) under

the direction, control, and supervision of the named-Defendants; (3) as an

agent or apparent agent of (and/or under the direct control and supervision

of), the City of Milwaukee and/or its Police Department or another

governmental unit or agency; (4) within the scope of his or her employment;

and/or (5) under the color of law; and that -based upon the allegations

herein- he, she, it, and/or they are a necessary and proper party/parties

hereto.

      308. The Defendant City of Milwaukee is a Wisconsin municipality and

unit of local government, whose agent and address for service of process is

c/o City Clerk, 200 E. Wells Street, Room 205, Milwaukee, WI 53202; and has

the capacity to sue and be sued in this Court; and is directly liable to



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Plaintiffs –and each of them- for the damages caused by its unconstitutional

policy, practice, and/or custom alleged herein below; and is otherwise

obligated to defend this action against the Defendants and to satisfy any

judgment entered against any or all of them, by virtue of sec. 895.46, Stats.;

and that based upon the allegations herein it is a necessary and proper party

hereto.

      309. Defendant ABC INSURANCE COMPANY is an unidentified

insurance company who would provide defense and indemnification

(insurance coverage) for persons or entities for part or all of the Plaintiffs’

claimed damages herein and/or who is otherwise a necessary and/or proper

party herein.




IV. ALLEGATIONS OF FACT AS TO ALL CAUSES OF ACTION

      401. At all times mentioned herein: Plaintiff Cullen has been and is a

self-employed conservationist, herpetological researcher, and reptilian

specialist working and coordinating with zoos, federal wildlife agencies,

humane organizations, and international conservation groups to rehabilitate,

breed, and conserve amphibians and reptiles (such as crocodiles, alligators

and snakes); and is considered among the top herpetologists and

conservationists in the field, including being a senior member of the “IUCN



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SSC Crocodile Specialist Group”, a prestigious international conservation

organization.

      402. As one function of his many specialties, Plaintiff Cullen

undertakes “rescue” or “conservation” operations for reptiles and amphibians

whereby he accepts critically ill, diseased, or injured reptiles and amphibians

and nurses them back to good health; and that Cullen had such an operation

in progress (and temporarily located) at Plaintiffs’ South 13th and South 17th

Street addresses at all times relevant hereto (which would explain any

appearance of “neglect” regarding any reptiles and/or amphibians on-site as

reported by Defendants to the judicial and prosecutorial arms of the State of

Wisconsin), as alleged herein below.

      403. At all times mentioned herein, Jane Flint was Cullen’s friend,

employee, and tenant who resided at the South 13th Street property.

      404. In early May of 2010 a person (purporting to be Detective

Simmert) contacted both Flint and Cullen by telephone and made general

inquiries of each of them, including where they lived, what they did, who they

worked for, and the like; in one conversation Flint confirmed for Simmert,

that she was “taking care of the dogs” at the 13th Street residence; in another

phone conversation, Flint confirmed that she was an employee of Cullen’s,

and also verified that she lived at the 13th Street residence.



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      405. In a separate phone conversation with Plaintiff Cullen, Simmert

was advised that Cullen was out of state at the time (for a couple of weeks);

and that Simmert did not undertake any reasonable investigations or inquiries

designed to confirm Plaintiffs’ legal authority to possess a “Chinese

Alligator” and/or the other creatures, whether endangered or not; nor did

Simmert undertake any other reasonably-expected investigation into the

legality and licensing of Plaintiffs’ operations.

      406. Instead, on or about May 12th, 13th, and 15th, 2010, Defendant

Simmert applied for several Search Warrants relating to Plaintiffs’ properties;

and that, on the same day (respectively), a Milwaukee County Circuit Court

Commissioner granted Simmert’s applications and issued (three) Search

Warrants authorizing police entry, search, and seizures relative to Plaintiffs’

property (as alleged herein).

      407. The (three) Search Warrants contained identical language

identifying the specific “objects of the search”, as being:

      “Reptiles including but not exclusive of Chinese Alligators or
      Chinese Crocodiles.
       Python or Anaconda snakes.
       Spiders and Turtles.
       Items commonly associated with the breeding, transport, and
      care of the above listed animals. This would include items like
      heat lamps, cages, and warming rocks.
       Other endangered or threatened species not included in this list”




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      “which thing(s) (were used in the commission) or (may constitute
      evidence) of a crime, to wit:

      DESCRIBE CRIME OR CRIMES:
      “(1) Endangered and threatened species protected. Committed in
      violation of sections 29.604 of the Wisconsin Statutes,
      respectively.” (Underline original).


      408. Plaintiffs’ possession of said “Chinese Alligator” was not illegal

under either Federal and/or Wisconsin Law.

      409.   Nonetheless, Defendants Simmert and Felician forged ahead with

the search warrants they obtained -in reckless disregard and deliberate

indifference to the law and Plaintiffs’ rights and interests; and Simmert and

Felician each became responsible for the planning and giving of assignments

for the execution of the search warrants; and/or were personally involved

with -and personally supervised- the physical searches of the Plaintiffs’

properties, the seizures of Plaintiffs’ property therefrom, the damage and

destruction committed therein, and the permanent deprivation of Plaintiffs’

property, as alleged herein.

      410. On May 12, 2010, at 1:34pm, Defendants Simmert and/or Felician

planned and executed the search at 2323 S. 13th Street, along with MPD

Officer Jamie Hewitt, Tactical Officers Kenneth Daugherty and Andrew




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Moutry from the Tactical Enforcement Unit; and Conservation Warden

Blankenheim.

      411. Shortly before executing the search warrant at the 13th Street

property, Simmert phoned an employee of Mr. Cullen’s to advise that the

police were going to execute a warrant at 13th Street; and that the employee

then immediately called Flint to pass-on the message and relay Simmert’s

phone number.

      412.     Flint immediately called Simmert and told him she would

immediately leave work and come there promptly (e.g., she could arrive

within approximately ten to fifteen minutes) and asked Simmert to please

wait so that she could confine the dogs or have a friend pick them up so the

dogs would not be present during the search.

      413.          Flint then called a friend and asked him to head to South

13th Street immediately (in case he could get there before her) and he agreed

and departed therefor.

      414. At the time of Defendants’ execution of the first search warrant

at the South 13th Street residence, the Defendants knew (or should have

known) that the Plaintiffs’ properties would not be occupied upon the

execution of search warrants (however dogs would be present at South 13th

Street).



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      415. Upon arrival at 13th Street for the execution of the search

warrant, the Defendants still had no reasonable plan to contain, capture, or

subdue the dogs in the property.

      416. Once on-scene, the Defendants called the Milwaukee Area

Domestic Animal Control Council (“MADACC”) to request its response to the

scene, so its officers could control the dogs; and multiple MADACC officers

arrived within approximately ten to fifteen minutes of the original call.

      417. Defendants did not wait for MADACC’s arrival and forced-entry

into the 13th Street premises via its north door, to wit: MPD Tactical Officer

Moutry (and/or others) ripped the door out of its framing and broke-into the

house;

      418.   Prior to executing the search warrants at 13th Street, the

Defendants had the luxuries of: (1) advance knowledge that dogs would be

present but nobody else was expected to be home; (2) abundant time to plan

for that dynamic including having Flint meet at the property or having animal

control present to control the dogs; and (3) no exigency, reasonable

apprehension of danger, or threat of evidence destruction all as alleged

herein; accordingly the warrants were not requested -nor issued- as “no

knock” warrants and were properly categorized as “low risk” threat level




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(e.g., the subjects were not believed armed and did not pose a threat to law

enforcement officers, amongst others);

      419. The Defendants (selectively) videotaped their entry into the 13th

Street property; the videotape reflects that, upon police-entry, the dogs

were barking in another room, but did not approach the officers in an

aggressive or threatening manner and were actually wagging tails; however

the videotape then abruptly stops - because the operator turned it off.

      420. Thereafter -off camera- an MPD tactical opened-fire on two of

the larger dogs (at near point-blank range, approximately 11 shots total) with

his department-issued assault rifle; and then radioed that “two dogs were

down”; and the two dogs “bled-out” on the kitchen floor (throughout the

kitchen and into dining room/flooring).

      421. After the dogs were shot to death the video operator turned the

video recorder back “on” - on and the dogs were then seen dead on the

floor, lying in their own blood; the bodies of the dead dogs had been staged

to appear as though the dogs had attacked the entry team – whereas the dogs

were actually in a retreating position when shot according to an FBI-crime

scene reconstructionist who has concluded that the dogs were shot while

retreating.




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      422.   No Milwaukee Police Department Officer created a

(contemporaneous account per a) “use of force” report after having

discharged a firearm multiple times and having killed the dogs, which was a

required report under MPD protocol; and in fact the MPD originally denied

killing the dogs; and it was not until many months later after demand and

discovery, that one was created.

      423. Also on May 12, 2010, after executing the warrant at 13th Street,

the same Defendants, executed the search warrant at the 17th Street

property.

      424.   During the searches of the 13th Street and 17th Street properties,

the Defendants (and/or other agents/apparent agents of Defendants including

those under their direction and control) seized Plaintiffs’ entire reptile

inventory which was “world class” and numbered into the hundreds –

including reptiles and animals which were clearly not illegal - such as the

generically-described “snakes”, “turtles” , “reptiles”, “python”, “anaconda”,

and “items for care” and “transportation”;

      425. Attached hereto and incorporated by reference herein, is a

representative LIST of the inventory seized (this list apparently having been

compiled by MADACC post-seizure; which is not wholly accurate, but merely

representative of nature and scope of the seizures).



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        426. The seized inventory included animals, reptiles, and amphibians,

which were clearly not illegal, nor were they evidence of criminal

wrongdoing nor contraband, to wit: “spiders”, “turtles”, “crocodiles” and

others; and the unconstitutional seizure and deprivation included otherwise-

perfectly legal equipment necessary to care therefor; and that Plaintiffs were

permanently deprived of their possession and ownership thereof; and that

Plaintiffs owned many of these creatures for over twenty five years; and

that, after their seizures and deprivation, many of them died due to rough

handling, improper capture, substantially inadequate and/or inappropriate

care;

        427. On or about May 21, 2010, a (fourth) Search Warrant was issued

by a Milwaukee County Circuit Court Commissioner, to enter, search and

seize the “skeletal remains” of a crocodile, which was located within the

2323 South 13th Street premises, which purportedly constituted evidence of

the crime of “mistreatment of animals” in violation of sec. 951.02, Stats.; the

underlying application was by MPD Officer Ivan Wick.

        428. The Defendants further justified their seizures of various

crocodiles, reptiles, and/or amphibians, by reporting that they were in

horrible condition, neglected, and without food; however, the subject

crocodiles, reptiles and/or amphibians seized from Plaintiffs were in good



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condition after having been originally received poor condition and/or having

been nursed back to health per the rescue/conservation operations.

      429. After the seizure of their inventory, the Plaintiffs attempted to

assert their objections thereto and to regain possession of the creatures, in a

variety of ways both on the record and off; even having offered Defendants

and others, several different “neutral” parties to hold and competently care

for the creatures during pendency of litigation - which offer was rejected and

the creatures were instead held locally by persons and facilities (lacking

competent care and knowledge in many regards); and that many of the

creatures died from neglectful and perhaps even abusive “care” provided by

Defendant’s local caretakers; and that Plaintiffs were misled and lied to at

times by Defendants and/or other authorities which prevented Defendants

from meaningfully exercising their due process rights seeking the return of

the inventory, amongst others; all of which resulted in Plaintiffs being

permanently deprived of the creatures, in an unconstitutional manner.

      430. As yet another example of Defendants’ utter incompetence and

reckless disregard for the Plaintiffs’ rights and interests at the time (and

after) the warrants were executed -- the Defendants immediately

euthanized four “pouch rats” at the 13th Street residence because of their

visibly apparent poor condition (e.g., balding, frail, no food); where in fact



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those “pouch rats” had effectively doubled the world record for longevity

(which was a bit over 7 years old) whereas each of the pouch rats were over

fourteen years old; thereby, and figuratively speaking, they were the

equivalent of a foursome of 200 year old persons; and -as to the “lack of

food” reported by Defendants - it was intentional and was required care,

because food left standing will develop mold which will kill these delicate

creatures.

      431. However because the Defendants very seriously misunderstood

these wonderfully ancient creatures (and failed to undertake even the most

basic investigation as to their care) they were summarily killed.

      432. As another example of Defendants’ bias and incompetency, the

crocodile skeleton which was the subject of the (fourth) search warrant for

South 13th Street, was an intentional “skeletonization” via dermestid beetles

for a high school biology teacher – which Defendants apparently mistook as

evidence of criminal mistreatment of an animal.

      433. Defendants also unconstitutionally seized (and permanently

deprived) Plaintiffs’ other personal property which was clearly not illegal nor

contraband nor evidence of criminal activity; and/or which was clearly

outside the scope of the warrants - including guns, papers, computers, tools,

currency, jewelry, and cash.



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      434. The searches and seizures, the destruction and damages, and the

permanent deprivation of property, were undertaken by Defendants, and each

of them, in violation of the Plaintiff(s)’ clearly established constitutional

rights and under the color of law.

      435. Defendants’ actions and inactions as alleged herein, reflect base

incompetency as to the relevant law and their willful and wanton lack of

respect for Plaintiffs’ rights, to wit:

      A.     Plaintiffs were legally entitled to posses the subject “Chinese

Alligator” and the other reptiles and creatures in their properties (along with

the items of personal property necessary for their care and transportation).

      B.     Defendants made no reasonable efforts to comprehend (1) the

specialty law and licensing involved; nor (2) the nature of Plaintiffs’ “rescue”

and “conservation” operations; all Plaintiffs needed was an opportunity to

explain to the Defendants, that the licensing and permit status would easily

be confirmed by the Chief of Permits, Officer of Management Authority, Fish

& Wildlife Service (US Department of Interior), amongst others.

      C.     Instead Defendants deliberately and recklessly rushed to

conclusions and took actions that were patently unfair and which violated

Plaintiffs’ clearly established constitutional rights including their rights to due




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process, and freedom from unreasonable searches, seizures and permanent

deprivations; amongst others.

      D.    The Defendants’ applications for Search Warrants to the court

commissioner misrepresented with deliberate and reckless indifference, that

the “objects” of the search were illegal – where they were clearly not illegal,

not evidence of criminal activity, not contraband; and not of a size/manner

subject to secretion or ease of destruction; including the referenced: snakes

(python, anaconda), alligators, crocodiles, spiders, turtles, and the “items

commonly associated therewith” like cages, warming lamps, and equipment.

      E.    That Defendants therefore unconstitutionally seized, damaged,

destroyed, and/or permanently denied Plaintiffs of their property in this

respect, in clear violation of the U.S. Constitution and federal laws, amongst

others; all of which caused Plaintiffs monumental damages alleged herein.

      436. The Defendants positioned themselves to be in exclusive control

of the subject four properties upon the execution of the respective search

warrants (and thereafter); and forbid entry by -and actively excluded-

Plaintiffs and/or their representatives for a period of weeks and/or months; in

violation of the Plaintiff(s)’ clearly established constitutional rights; and thus

Defendants were the only ones who knew what was occurring during and

after their searches, seizures, and their exclusive control.



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      437. Additionally, Defendants kept surveillance of the Plaintiffs’

properties immediately following the searches and seizures (and/or the

property damage and destruction) – for a period of weeks and/or months –

during which time Defendants (by their representatives/apparent agents)

would not let the Plaintiffs nor their representatives enter the properties –

even where entry and inspection had been formally pre-approved by the

parties’ counsels (meaning the attorneys agreed to the entry and inspection,

but Defendants did not comply).

      438. “Coincidentally” - after the foregoing catastrophic damage was

inflicted- certain unknown persons forced-entry into Cullen’s locked car

[accomplished without physical damage apparently by a professional

possessing the necessary equipment and know-how]; yet valuable tools and

property in plain view were not taken and left behind; and the only item

stolen was Cullen’s “evidence bag” which contained photographs and

evidence Cullen was collecting in support Plaintiffs’ claims herein; and that

the reasonable inference is that Defendants or their designees were the

perpetrators of the break-in and theft in order to interfere with Plaintiffs’

legal relief.

      439. Plaintiff’s residence was also “coincidentally” burglarized after

the catastrophic damage to the properties – where: forced-entry was used



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to gain access; Cullen’s office was ransacked; valuable property was left

behind (like computers, TVs, electronics, tools, etc.); and the only items

stolen were photographs, paperwork (and a digital recorder); and that the

reasonable inference –again- is that Defendants or their designees were the

perpetrators of the break-in and theft in order to interfere with Plaintiffs’

legal relief.

      440. Plaintiff Cullen, Ms. Flint, and other third-party witnesses were

personally present in all the Plaintiffs’ buildings prior to the execution(s) of

the search warrants therein; and they observed the satisfactory condition of

the premises and property - e.g., although somewhat cluttered and

crowded, the residences were in proper and fully habitable condition; they

were clean and sanitary; and they lacked the significant damage and

destruction which suddenly existed upon Defendants’ surrendering their

exclusive control of the premises and Plaintiffs resuming possession thereof.

      441. Furthermore, after having searched, seized, damaged and

destroyed the Plaintiffs’ personal and real property as alleged herein, the

Defendants purportedly “secured” each of the four premises by screwing

green “plywood” and/or “particle boards” over the doors and windows

damaged by Defendants during (and/or after) their execution of the search

warrants; however the particle-board-repairs left “gaps” which allowed



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rodents and vermin to enter the residences and infest same; and/or

Defendants left various doors and/or windows open and unsecured, which

also caused infestations into the premises; and that accordingly, Defendants’

failure to secure the premises in a reasonable fashion caused independent

and significant, excessive and unreasonable damage to Plaintiffs’ property

(both personal and real); which violated Plaintiffs’ clearly established

constitutional rights.

      442. Defendants also undertook other unconstitutional conduct as

alleged hereinbelow, in violation of Plaintiffs’ clearly established

constitutional right, which caused Plaintiffs damages they now allege.

      443. As the result of the significant property damage which occurred

during and/or after the warrant-searches, the DNS “placarded” the 13th

Street residence and declared it unfit for human habitation, and attempted to

have it condemned through legal process (which attempt was ultimately

unsuccessful); and during that process the Plaintiff(s) and others were

continued to be forbidden from entering the property, which continued to

unconstitutionally deprive Plaintiff(s) of (the use and enjoyment of) their

properties.

      444. Defendants have intimidated potential witnesses (including fellow

officers and those from the Department of Neighborhood Services);



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Defendants are expected to honor the customary code of silence; and

Defendants and others have tampered with and manipulated evidence and

witnesses in this case as alleged herein; which has unconstitutionally

interfered with and affected the legal relief available to Plaintiff.

      445. As a check-and-balance against Defendant’s local authority and

powers, the Plaintiffs alerted the United States Bureau of Federal

Investigation (immediately after discovering the catastrophic damage caused

by Defendants); and have kept it abreast of developments including the filing

of this Complaint, to minimize any further “coincidences” attributable to the

Defendants or their allies.




V. VIOLATIONS OF LAW

      [Plaintiffs re-allege and incorporate by reference the foregoing
allegations, as

though fully set forth herein].

      501. The clearly-established constitutional rights of Plaintiffs’ were

violated by the Defendants’ actions and inactions, and/or the actions and

inactions of the Defendants’ agents, apparent agents, and/or persons under

their direct supervision and control (and each of them) as alleged herein.




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      502. The methodology and the manner of the: application for search

warrants; the issuance of search warrants; the subsequent execution of

search warrants; the damage and destruction of property; and/or the

(permanent) deprivation of Plaintiffs’ property - pursuant to the warrants all

as alleged herein - caused Plaintiffs damages under the law and facts.

      503. Defendants’ actions and inactions occurred “under the color of

law” (including custom, policy and/or practice); and proximately caused

significant financial loss to Plaintiffs, and each of them; and all of which

renders the Defendants, and each of them, liable to Plaintiffs, and each of

them, for the damages alleged herein below


A.    Fourth and Fourteenth Amendment: Violations

      1.      Excessive Property Damage & Seizures Beyond Scope of Warrant

      504. Defendants, and each of them, were active participants in the

searches of the Plaintiffs’ premises, and in the seizures of Plaintiffs’ property

including personal property beyond the scope of the warrant; and/or

including items of personal property which were clearly not illegal, not

contraband nor evidence of any criminal activity (e.g., snakes, turtles,

spiders, crocodiles, and their storage containers; and including Plaintiffs’

papers, guns, tools and cash; and Cullen’s passport, amongst others); and




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were personally involved in the permanent and unconstitutional deprivation

thereof.

      505. Defendants (and/or other agents/apparent agents including others

those under Defendants’ direction and control) personally committed

significant, excessive and/or unreasonable damage and destruction to

Plaintiffs’ property (both personal and real); and that the destruction and

damage inflicted by Defendants was not “incidental” to the searches nor

reasonably necessary to effectively execute the search warrant nor the

performance of official duties.

      506. Defendants, and each of them, failed to reasonably secure the

premises after the execution of the search warrants, as alleged herein; which

proximately caused Plaintiffs substantial infestations and damages.

      507. The property damage inflicted upon the Plaintiffs’ properties by

Defendants (and/or persons under their direct supervision and control) are

itemized on the attached LISTS; those damages are realleged herein by

reference as though fully set forth.

      508. Accordingly, Defendants, and each of them, have violated

Plaintiffs’ clearly established constitutional rights and are now liable for

Plaintiffs’ damages and monetary relief, as alleged herein.




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      2.      Fraudulent Search Warrant & False Arrest

      509. The applications for the subject search warrants were based

upon Wisconsin Statute section 29.604 – which is civil in nature (absent an

allegation of “intent” – which was not alleged in the application).

      510. Section 29.604(6)(c), Stats., specifically excludes animals on the

US Endangered Species List from the requirements of that statute - unless

native to Wisconsin; and therefore -because a “Chinese alligator” is on said

US Endangered Species List but not native to Wisconsin, the Plaintiffs’

possession thereof was not illegal under sec. 29.604, Stats., and/or was

otherwise legal under the authority granted to Cullen by federal authorities

(and/or was legal under federal law, as not possessed for use in interstate

commerce).

      511. Defendants’ applications for the subject Search Warrants

contained materially false statements of fact and/or omitted material facts,

which included Defendants (mis)representation -under oath- that the

“objects” of the searches were “endangered or threatened” species under

Wisconsin Law, and/or that they were “used in the commission” or “may

constitute evidence” of a crime, and/or “committed in violation of” sec.

29.604, Stats.; and/or that the applications fraudulently sought the authority




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to seize Plaintiffs’ property which was clearly not illegal, not evidence of a

crime, and not contraband.

      512. Defendants did not have probable cause to arrest Plaintiff Cullen

for violation of 29.604, Stats., and did not have probable cause to seize the

foregoing otherwise-legal items from Plaintiffs; and that Defendants falsely

arrested Plaintiff Cullen for the crimes alleged in the search

warrants/applications; all in violation of Plaintiffs’ clearly established

constitutional rights.

      3.      Failure to Intervene

       513. Defendants Simmert and/or Felician had actual knowledge of -

and/or deliberate indifference to- the egregious and malicious property

damage and destruction and violation of Plaintiffs’ constitutional rights being

committed during the execution of the search warrants (including that caused

by subordinate law enforcement officers and/or others under Defendants’

direction and control); and/or otherwise knew of and acquiesced therein (by

“turning a blind eye” to) said property damage and destruction; and/or knew

that Defendants John and/or Jane Doe(s) had a practice of exceeding their

legal authority during and after the execution of search warrants (as alleged

hereinabove); all being violations of Plaintiffs’ clearly established

constitutional rights.



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       514.   Therefore Defendants Simmert and Felician were each obligated

–yet failed- to intervene and prevent others – including Jane(s) and John(s)

Doe-

from engaging in clear violations of Plaintiff’s’ constitutional rights

       515. Said failure to intervene occurred under circumstances where (1)

an objectively reasonable officer would have understood that fellow officers’

conduct violated Plaintiffs’ clearly established constitutional rights, (2) said

Defendants, and each of them, had a realistic opportunity to intervene and/or

to protect such harm from occurring (3) Defendants failed to take reasonable

steps to prevent said harm from occurring, which failure to act caused

Plaintiffs to suffer harm (4) Defendants purposely ignored, condoned,

acquiesced, and/or assisted the seizure, damage, and/or destruction of

Plaintiffs’ property (5)all under color of law.

4.     Supervisor Liability:

       516. As alleged herein, Defendants Simmert and/or Felician, and each

of them, were the supervisors of other law enforcement officers during the

execution of the subject search warrants; and each Defendant failed to

properly supervise the execution of the search warrants, and aftermath

including the securing of the premises after the search and seizures; all of

which caused the Plaintiffs’ damages as alleged herein.



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      517. The widespread and extensive property damage and destruction

occurring during (and/or after) the execution of the search warrants was

obvious, flagrant, extensive, consistent between premises, and of continued

duration -- making it impossible for Defendants Felician and/or Simmert to

have been unaware that such property damage was being conducted in

violation of Plaintiffs’ clearly established constitutional rights; and/or said

Defendants had knowledge of their subordinate’s behavior(s) violating

Plaintiffs’ clearly established constitutional rights and/or acquiesced therein,

after the fact.

      518. Defendants Simmert and /or Felician otherwise set in motion a

series of events that each supervisor knew or reasonably should have known,

would cause fellow officers to deprive the Plaintiffs of clearly established

constitutional rights.




B.   Fifth and Fourteenth Amendments: Violations - Deprivation of Property
Without Due Process

      519.   Based upon the allegations contained herein the Defendants, and

each of them, have likewise violated the clearly established constitutional

rights of the Plaintiffs under the 5th and 14th Amendments to the U.S.

Constitution as it relates to the deprivations and damages caused by




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Defendants under color of law, in violation of their rights to due process

and/or reasonable compensation.




C.    Municipal Liability (42 USC 14141) and Indemnification – Wis. Stats.
§895.46

      520.   Plaintiffs’ damages have been caused or contributed to, by

Defendants’ (City of Milwaukee’s, Felician’s, and/or Simmert’s) policy,

practice or custom whereby –during and/or after the execution of search

warrants – such Defendants (1) seize personal property clearly beyond the

scope of the search warrant and/or property, and/or property which is clearly

not evidence of crime or contraband; and/or (2) unnecessarily and/or

unreasonably destroy, damage, and/or meaningfully interfere with personal

property of its citizenry (including: thoroughly and unnecessarily “trashing”

the areas being searched; and illegally damaging personal property).

      521. Said policy, practice, or custom is further evidenced by: (1)

Defendants’ modus operandi; (2) the extent and similarity of the damages

occurring between Plaintiffs’ properties on different dates; (3) similar claims

and complaints by third parties against the MPD and/or its officers and

agents arising from the execution of search warrants; and/or (4) the damages




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having occurred under the watch and supervision of high-ranking MPD

officers vested with final decision-making authority and discretion.

      522. The circumstances reflect that the Defendant City of Milwaukee

has failed to properly train Defendants as to proper search warrant protocols,

obligations, and/or limitations – and/or failed to adequately supervise and

discipline its officers, agents, and/or apparent agents in that regard; and that

such failure caused or contributed to the Plaintiffs’ damages); therefore such

failure to train also renders the City of Milwaukee directly liable to Plaintiffs

under this Complaint.

      523. Defendants City, Simmert, and/or Felician knew or reasonably

should have known that it was highly predictable that the constitutional

violations alleged herein would occur without further, adequate training,

supervision, and/or discipline of its officers, agents, and/or apparent agents.

      524. Defendants Felician and/or Simmert are considered final decision

makers for the purposes of municipal liability and therefore, Defendant City

of Milwaukee is liable for their unconstitutional actions.

      525. Defendant City of Milwaukee is otherwise liable to defend this

action against the Defendants, and to satisfy any judgment entered against

them, by virtue of Wis. Stat.§895.46.




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VI.   CAUSATION, DAMAGES and EQUITY

      601. By virtue of unlawful actions/inactions alleged above, Defendants

(and each of them) have caused Plaintiffs’ damages and are now liable to the

Plaintiffs –and each of them- for the financial losses and other damages they

have caused, which shall be determined by the fact finder in an amount

deemed as reasonable compensation for the following items of damages

caused by Defendants:

      602. Plaintiff Cullen was falsely arrested and denied freedom; the

reasonable value thereof for the purposes of compensation by money

damages, is unknown at this time.

      603. Many persons (including Cullen) worked to repair the damage

inflicted upon the Plaintiffs’ properties - day after day, for several during the

summer (mid-July and August) of 2010; and in some respects, continue to do

so now (and will continue to do so into the future); for which Plaintiffs are

entitled to a reasonable damage award estimated to be no less than

$150,000.00 (one hundred and fifty thousand dollars).

      604. The Plaintiffs have suffered significant out of pocket expenses

and liability for repairs and mitigation of damages; and many items of repair

are still required (due to cost versus a lack of resources); and Plaintiffs




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estimate their losses in this regard to exceed $200,000.00 (two hundred

thousand dollars);

       605. The “reptile inventory” illegally seized, taken, killed, and/or

permanently denied Plaintiffs is reasonably valued at over $2,000,000.00 (two

million dollars).

       606. Plaintiffs have suffered damage to their respective incomes,

profits, rental incomes, earning capacities, and/or reputations, in an amount

to be set by the fact finder but in any event, no less than $2,000,000.00 (two

million dollars).

       607.   The anticipated cost for electronic “repair” and restoration of

Plaintiffs’ professional reputations relative to the internet and/or social media

monitoring and affirmative intervention, amongst others, is estimated to be

$75,000.00 (seventy five thousand dollars).




VII.   PUNITIVE DAMAGES.

       701. The Defendants, and each of them, intentionally, maliciously,

and/or recklessly disregarded the law, public trust, limitations of the search

warrants, their official duties, and/or the Plaintiffs’ constitutional rights; and

Defendants intentionally caused unjustified and unreasonable damage and

destruction to the Plaintiffs’ property; and intentionally deprived Plaintiffs of



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their property; all of which violated the Plaintiffs’ clearly established,

constitutional rights.

      702. All of which entitles Plaintiffs (and each of them) to an award of

punitive damages as provided by law, against Defendants, and each of them,

to punish the offenders and to deter them and others similarly situated, from

similar wrongful acts in the future.




VIII. CONDITIONS PRECEDENT

      801. All conditions precedent to this action, within the meaning of Rule

9(c), Fed. R. Civ. Pro., have been performed or have otherwise occurred.




IX.   DEMAND FOR JURY TRIAL

      901. The Plaintiff hereby demands a trial by jury of all issues triable

of right to a jury.




X.    STAUTORY ATTORNEYS FEES

      1001. Plaintiffs are entitled to an award by federal law, for the costs of

prosecuting this Complaint including all reasonable attorneys fees and costs

related thereto (experts, investigators, paralegals, and the like).




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XI.   PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs request money judgment in their favor, and

against the Defendants, and each of them, for a reasonable amount of

damages including:

      1101.       Monetary damages in an amount that will fairly compensate

Plaintiffs for their respective injuries in the minimum amount of

$4,425,000.00 (four million, four hundred twenty five thousand dollars); plus

      1102.        Punitive damages in amount that will justly punish the

individual Defendants for their actions and deter others, provide by law;

      1103.       The Plaintiffs’ statutory costs, and a statutory award to

Plaintiff for the reasonable attorneys’ fees and litigation expenses (including

expert witness fees), and

      104. Any other additional relief –in law or equity- to which the

Plaintiffs are entitled to under this or subsequent pleading.

Date: May 3, 2016
By:
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                          SOUTH 13th Street


                             EXTERIOR DAMAGES

*Entire front panel of the building (inside and outside) ripped out including
8x10 foot ornate plate glass window leaving giant hole in front of building
(green-boarded);

*all exterior doors damaged/busted open: including heavy front wooden
doors and ornamental wrought iron security door (primary entrance) entirely
ripped out framing;

*custom dutch stone and brickwork busted up;

*alley door ripped out; rollup door badly damaged; commercial garage door in
alley with interprone latches cut out with saw (even though it was unlocked
via courtyard access)

*items thrown out upstairs door onto (and damaging) foam roof - requiring
repair and recoating




                            Courtyard/shed/garage

*garden-sitting area: plants, furniture, garden ripped apart,

*courtyard door: unlocked but still busted-up – leaded glass window
damages and frame damaged; ornamental wrought iron security door
damaged

*large commercial generator, new “in box” purposely damaged

*courtyard stairs up from basement literally ripped out;

*courtyard window busted out, door destroyed



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*personal property including jewelry/clothes, piled in courtyard; destroyed

*commercial shelving and “rodent racks” which were stored in garage, were
put in courtyard and ruined by the elements




                            INTERIOR DAMAGES

*entry room trashed: sink, island cabinets and drawers badly damaged;
virtually every room or other space in the house was entirely torn apart
(“trashed”)

*physical damage to floors – all interior hardwood floors ruined & redone;
walls, gouged and knocked apart; walls smeared with unknown substance –
“gunk”

*Vinyl tile kitchen floor ruined: bullet holes & soaked with rotting blood from
dogs, leading to mold under carpet

*heavy interior doors to kitchen and basement damaged; wrecked multiple
interior doors

*marble counters scratched and separating

*knocked stove off base causing natural gas leak at the supply pipe
connection.

*dining room and most any areas of walls and ceilings: re-plastered and
repainted; all carpeting in house was damaged by the search-raids, and
replaced.

* two skylights – damaged and leaking

*dumped liquid/ solvents on floor in workroom and additional cans of
chemicals (stored on-site by Plaintiffs) dumped including upstairs damage
from (likely) tile-flooring epoxy; all hardwood floors required extensive
repairs including refinishing, plugging bullet holes;




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* cover plates of light switches opened & damaged (wire and connections)

*custom curio cabinet glass smashed, leaded glass bookcase doors smashed
& damaged; and items strewn




                              WATER DAMAGE

*drainage plugs on the big tanks were pulled in the large “animal room” -
instead of using available hoses to drain; literally thousands of gallons of
water went out of tanks onto and through the floor, under/through walls (and
crept up walls); water ran down the stairs and flooded basement; causing
affected wall(s) to rot and buckle

*Broke pipe in radiator and caused water damage to floor and baseboards

*basement (back) door to courtyard was damaged and left open– led to
rodent infestation/feces

*black mold creeping everywhere, seeping up through the floors into
bedroom

*New washer/dryer in basement ruined; power tools stolen

*Floor drain intentionally plugged – with shards of steel and pieces of
plumbing materials- causing a backup of (what became) putrid water, which
took days to clear (drain)

*main storage room floor & walls ruined by water damage; large floor-shelf
destroyed

*Bathrooms damaged: mount for toilet broken leading to rotting the floor and
under floor, and dripped into basement; cracked seal around tub, piled items
in tub; kicked in water heater

*Workroom: totally trashed, items dumped; ceiling peeled from water rot,
constant seepage; (hundreds of) Nicholsen files rusted; cans of solvent and
paint dumped



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*tremendous loss of personal items / soft goods (clothes, etc)

*Security cameras, wires, and hard drive badly damaged rendering devices
inoperable

*personal property piled into piles several feet tall on both floors

*Aquariums holding rodents were smashed, power shut off to freezers x2 and
contents ruined




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                              South 17th St.
                            EXTERIOR DAMAGES

*brick porch busted up, cement caps knocked off brick; additional areas of
brickwork maliciously damaged

*foundation, stone sill, window framing (south side of building) smashed out;
interior plaster & lathing destroyed

*entire side doorway ripped out of frame

*north side basement window (middle window) left open (rodent infestation)


                             INTERIOR DAMAGES

*house was thoroughly trashed - mounds of stuff piled up

*linoleum on kitchen floor, hallway, and rear stairway ruined: floor rotten &
moldy

*walls/plaster gouged, busted and/or smeared:    requiring replaster

*interior doors broken/damaged

*chair jammed into toilet (apparent attempt to break toilet)

*sun room ceiling fixture pulled out, caused wiring to burn out which required
new wiring to be run for entire circuit throughout house

*basement floor drain intentionally plugged ; basement work room destroyed
– drawers dented – tools stolen – solvents dumped – battery operated tools
and battery packs went bad due to moisture/water; mold everywhere

*basement window north side, left open (causing rodent infestation)

*solvent poured on floors (including next to furnace, creating explosion risk)



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                               Anaconda room

*dumped anaconda tank-water (hundreds of gallons)
*Urothane flooring - virtually new – ruined by the water
*Baby anacondas all killed
*Busted-out foundation and basement window




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                             3348 South KK
                             EXTERIOR DAMAGE

*brick porch busted up, cement caps knocked off

*front door: beveled glass heritage wood door and frame, along with storm
door badly damaged; door framing busted out;

*Kitchen:   door:   damaged from forced entry; items strewn throughout
house

*outer porch: door frame smashed; window smashed

*garage doors busted open although unlocked




                             INTERIOR DAMAGE

*linoleum kitchen floor ruined

*office: computer taken files ransacked, office damaged

*cabinets ripped down, one still down

*bedroom – mirror shattered, mattress & box spring destroyed; dozens of
CDs destroyed; warped doors, tile in bathroom came loose

*Broke Plumbing: for bathroom -- backside closet access –water left
running for weeks onto floor, caused significant water damage to flooring,
virtually soaked the entire first level (and basement); water ended up in
basement; basement ceiling damaged, along with stairs down which became
rotten; then covered in mold

*hand made custom tools in display damaged

*extensive herpetological and medical (and other) library –
damaged/destroyed


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                                 BASEMENT

*tiled basement and workroom floor (virtually new) badly damaged

*thousands of dollars of tools damaged by moisture (and/or went missing
from raid)

*acoustic ceiling caved in from water from upstairs

*basement bathroom damaged

*smashed door to upstairs tenant (who was home)

*Ripped apart storage area in basement

                                    MISC:

*Clothing/ bedding/ bed/ stamp album / large book collection – damaged or
destroyed

*mold everywhere

*tools stolen; computer taken;   not inventoried

*stationary power tools rusted from humidity

*Freezer left open and burned out, contents spoiled

*antique ornaments smashed

*tenant upstairs taken away in handcuffs, never seen again; entry door to
upstairs unit busted out, floor/woodwork damaged in his bedroom




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                              South 16th St.
*large front custom door (was unlocked yet) badly damaged – sunk screws
through door which split door; ruined medeco compression lock

* >1 gallon of tangle foot poured & tracked everywhere

*number of valuable guns taken (willed to Plaintiff Cullen)




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